 Case 1:17-cv-00671-RJJ-PJG ECF No. 42 filed 06/05/18 PageID.272 Page 1 of 4



                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

TRAVIS TERRY,

      Plaintiff,
                                               No. 17-cv-00671
v
                                               HON. ROBERT J. JONKER
MICHIGAN DEPARTMENT
OF CORRECTIONS,

      Defendant.
_____________________________________________________________________________

Ronnie E. Cromer, Jr. (P59418)         Sarah Robbins (P81944)
The Cromer Law Group, PLLC             Attorney for Defendant
Attorney for Plaintiff                 Michigan Department of Attorney General
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                                       Robbinss@michigan.gov
_____________________________________________________________________________


                   PROTECTIVE ORDER REGARDING
               DISCOVERY PRODUCED BY THE DEFENDANT

      IT IS ORDERED, that the production of any discovery by the Michigan

Department of Corrections will be subject to the following protective conditions:

       1.    The discovery involved may contain, in part, confidential

and/or privileged information regarding the Defendants, other

individuals, and/or policies, procedures, of the Michigan Department of

Corrections, and that the dissemination of said materials may hinder

the ability of the Department to ensure the safety and security of the
Case 1:17-cv-00671-RJJ-PJG ECF No. 42 filed 06/05/18 PageID.273 Page 2 of 4



Department of Corrections’ correctional facilities.

     2.    The information derived from this discovery shall be used

solely and exclusively for purposes of this lawsuit and W.D. Mich. No. 17-

cv-00671. Such information shall not be used in or for other cases,

proceedings or disputes, or for any other purpose whatsoever.

     3.    The aforementioned materials may not be disclosed to any

person other than parties, counsel of record for the respective parties to

this litigation, the paralegal and clerical staff of same, expert witnesses

or consultants engaged by counsel, and the court and court personnel,

under such safeguards as the court may direct so as to preserve and to

protect the confidentiality of information made reference to herein.

Should the materials be quoted/paraphrased in any pleading, brief, or

other legal document that will become a part of the court file in this

case, said pleading, brief or other legal document shall be submitted to

the Court under seal so as not to become a part of any public record.

      4.   All the persons to whom this confidential information and/or

documents are disclosed are hereby enjoined from using the same except

in connection with this litigation (under such safeguards as the court

may require) and from disclosing the same to any other person except

where a party knowingly provides the disclosure to any witness. A

breach of the provisions of this order shall be subject to appropriate



                                     2
Case 1:17-cv-00671-RJJ-PJG ECF No. 42 filed 06/05/18 PageID.274 Page 3 of 4



sanctions, in the discretion of the court, as authorized by any statute,

rule or the inherent power of the court, or as otherwise provided by

law.

       5.   The provisions of this Order shall survive and remain in full

force and effect after the entry of final judgment (including any appellate

proceedings) in this case, whether by settlement or litigation unless

otherwise ordered by this Court.

       6.   The production of discovery subject to this protective order

does not constitute an admission or agreement that any document or

information is admissible as evidence in this case of W.D. Mich. No. 17-cv-

00671.

       7.   Necessary modification of this order may be sought by

stipulation or by motion to the Court upon a showing of good cause.

       8.   Notwithstanding the above, the social security numbers of

any person, other than his own, shall not be furnished to Plaintiff.

       9.   Procedure upon termination of this action:    60 days after

the termination of this action by order or judgment, or by an appellate

mandate if appealed, the material submitted under seal pursuant to

this protective order will be unsealed and placed in the public case file,

unless counsel present a proposed order directing the Clerk's Office to

return them to the parties responsible for their submission. An order

for the return of protected documents to the parties or attorneys who

                                    3
 Case 1:17-cv-00671-RJJ-PJG ECF No. 42 filed 06/05/18 PageID.275 Page 4 of 4



 submitted them shall require counsel to maintain one archival copy of

 depositions, exhibits, transcripts, court exhibits and transcripts, and

 documents and information included in submissions to the court.

      IT IS SO ORDERED.



Date: ________________           _______________________________
                                 HON. ROBERT J. YONKER
                                 U.S. DISTRICT COURT JUDGE


The parties, through their respective counsel, stipulate to the entry of the above
order.


Date: 6/5/2018                                Date: 6/5/2018

s/ Ronnie E. Cromer, Jr.                      s/Sarah R. Robbins
Ronnie E. Cromer, Jr. (P59418)                Sarah Robbins (P81944)
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